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                                     Janet Denlinger and Harry Denlinger v. Summit View, LLC, et al.
                                                       Case No.: 2018-CA-001241
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 142     12/2/2019   Notice of Cancellation of Hearing                         2      Notice of Cancellation of Hearing
 141    11/14/2019   Suggestion of Pending Bankruptcy Summit                   6      Suggestion of Pending Bankruptcy Summit View, LLC
 140    10/24/2019   Notice Designating Email Address DF                       4      Notice Designating Email Address DF
 139    10/24/2019   Notice of Hearing on 12/03/19 @10:45AM                    2      Notice of Hearing on 12/03/19 @10:45AM
 138    10/16/2019   Response to Motion Filed by PLTFS                         2      Response to Motion Filed by PLTFS
 137    10/14/2019   Motion Def City of Dade City’s Motion for Case            8      Motion Def City of Dade City’s Motion for Case Mgmt.
                     Mgmt. Conference Filed by Defendant                              Conference Filed by Defendant
 136     10/2/2019   Notice of Non Availability Filed by Counsel for           2      Notice of Non Availability Filed by Counsel for Def
 135     8/16/2019   Order on Southwest Florida After Management               1      Order on Southwest Florida After Management
                     District's Motion For Substitution Of Counsel                    District's Motion For Substitution Of Counsel
 134     8/16/2019   Correspondence to JUDGE BARTHLE                           4      Correspondence to JUDGE BARTHLE
 133     7/30/2019   Motion for Substitution of Counsel                        4      Motion for Substitution of Counsel
 132     7/29/2019   Motion for Extension of Time Filed by PLTFS               4      Motion for Extension of Time Filed by PLTFS
 131     7/26/2019   Notice of Appearance Filed By Donald E Hemke              3      Notice of Appearance Filed By Donald E Hemke OBO
 130     6/13/2019   Notice of Non Availability Joseph Southron Esq            3      Notice of Non Availability Joseph Southron Esq
 129      6/6/2019   Notice of Serving Answers To Interrogatories              3      Notice of Serving Answers To Interrogatories Filed by
 128      6/6/2019   Response to Request Production and                        8      Response to Request Production and Objections Filed
 127     5/31/2019   Stipulation for Substitution of Counsel Thomas            2      Stipulation for Substitution of Counsel Thomas Thanas
                     Thanas Esq City of Dade City                                     Esq City of Dade City
 126     5/20/2019   Notice of Hearing 06/14/19 @10AM                          3      Notice of Hearing 06/14/19 @10AM
 125      5/3/2019   Notice of Hearing 05/09/19 @10:15AM                       3      Notice of Hearing 05/09/19 @10:15AM
 124     4/23/2019   Exhibit A                                                 3      Exhibit A
 123     4/23/2019   Memorandum of Law FILED BY PLTFS                          8      Memorandum of Law FILED BY PLTFS
 122     4/17/2019   First Request for Production from Defendant               3      First Request for Production from Defendant

 121     4/17/2019   Notice of Serving Interrogatories 1-5 from DF             5      Notice of Serving Interrogatories 1-5 from DF

 120     4/17/2019   Notice of Serving Interrogatories from DF                 5      Notice of Serving Interrogatories from DF
 119     4/15/2019   Order Granting Deft Keene Services to Appear              4      Order Granting Deft Keene Services to Appear
                     Telephonically                                                   Telephonically
 118     4/15/2019   Attorney Cover Letter w/o Attchments                      2      Attorney Cover Letter w/o Attchments
 117     4/16/2019   Notice of Non Availability PL                             2      Notice of Non Availability PL
 116     4/12/2019   Notice of Non Availability Filed by DEFS                  2      Notice of Non Availability Filed by DEFS
 115     4/10/2019   Motion to Appear Telephonically Deft Keene                2      Motion to Appear Telephonically Deft Keene Services
                     Services
 114     3/26/2019   Response to Request Production Filed by PLTFS            29      Response to Request Production Filed by PLTFS

 113     3/25/2019   Answer Filed by PLTF to City and Sherman as to            4      Answer Filed by PLTF to City and Sherman as to Claim
                     Claim for Writ of Mandamus                                       for Writ of Mandamus
 112     3/25/2019   Answer Filed by PLTF as to Plaintiffs Claim for           4      Answer Filed by PLTF as to Plaintiffs Claim for
                     Negligence                                                       Negligence
 111     3/25/2015   Answer Filed by PLTF as to Amended Motion                 4      Answer Filed by PLTF as to Amended Motion for
                     for Sanctions as to PLTFS Claim for Inverse                      Sanctions as to PLTFS Claim for Inverse Condemnation
                     Condemnation
 110     3/25/2019   Answer Filed by PLTF as to Plaintiffs Claims for          4      Answer Filed by PLTF as to Plaintiffs Claims for
                     Attorney Fees                                                    Attorney Fees
 109     3/14/2019   Memorandum of Opposition DF                              7       Memorandum of Opposition DF
 108     3/12/2019   Notice of Hearing 05/09/19 @10:15AM                      2       Notice of Hearing 05/09/19 @10:15AM
 107     3/11/2019   Response to Motion and Objection to PLTF                 12      Response to Motion and Objection to PLTF Amended
                     Amended Complaint                                                Complaint
 106     3/11/2019   Response and Objection to Pltfs Motion for                8      Response and Objection to Pltfs Motion for Leave to
                     Leave to File 3rd Amended Complaint Filed by                     File 3rd Amended Complaint Filed by Defs
                     Defs
 105     3/7/2019    Notice of Non Availability Micheal Shae Esq.              3      Notice of Non Availability Micheal Shae Esq.

 104     3/7/2019    Notice of Filing PL as to Verified Return of              7      Notice of Filing PL as to Verified Return of Service
                     Service
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 103     3/7/2019    Correspondence Re: Letter to Judge from DF             1      Correspondence Re: Letter to Judge from DF Southwest
                     Southwest FL. Water Management's Counsel                      FL. Water Management's Counsel

 102     3/5/2019    Motion for Sanctions (AMENDED) FILED by               20      Motion for Sanctions (AMENDED) FILED by DEFS Dade
                     DEFS Dade City and Sherman as to PLTF Claim                   City and Sherman as to PLTF Claim for Negligence
                     for Negligence
 101     3/5/2019    Motion for Sanctions (AMENDED) FILED by               20      Motion for Sanctions (AMENDED) FILED by DEFS Dade
                     DEFS Dade City and Sherman as to PLTFS Claim                  City and Sherman as to PLTFS Claim for Writ of
                     for Writ of Mandamus                                          Mandamus
 100     3/5/2019    Motion for Sanctions (AMENDED) FILED by               16      Motion for Sanctions (AMENDED) FILED by DEFS Dade
                     DEFS Dade City and Sherman's as to PLTFS                      City and Sherman's as to PLTFS Claim for Attorney Fees
                     Claim for Attorney Fees
 99      3/5/2019    Motion for Sanctions (AMENDED) FILED by               16      Motion for Sanctions (AMENDED) FILED by DEFS as to
                     DEFS as to PLTFS Claim for Inverse                            PLTFS Claim for Inverse Condemnation
                     Condemnation
 98      3/5/2019    Notice of Filing Attached Notice of Intent to File     5      Notice of Filing Attached Notice of Intent to File an
                     an Action Pursuant to FL. Stat. 768.28(6)(A)                  Action Re (Ammended Exhibit G)
                     Filed by Plaintiffs (Ammended Exhibit G)

 97      3/5/2019    Notice of Filing Attached Notice of Intent to File     5      Notice of Filing Attached Notice of Intent to File an
                     an Action Pursuant to FL. Stat. 768.28(6)(A)                  Action Pursuant to FL. Stat. 768.28(6)(A) Filed by
                     Filed by Plaintiffs                                           Plaintiffs
 96      3/1/2019    Motion to Withdraw Attorney of Record John             3      Motion to Withdraw Attorney of Record John
                     Hightoweer Esq.                                               Hightoweer Esq.
 95      3/1/2019    Motion to Withdraw Attorney of Record Dustin           2      Motion to Withdraw Attorney of Record Dustin Deese
                     Deese Esq.                                                    Esq.
 94      3/1/2019    Motion for Leave to Amend Complaint                   86      Motion for Leave to Amend Complaint
 93      2/28/2019   Motion for Order of Referral to Mediation Filed       4       Motion for Order of Referral to Mediation Filed by
                     by PLTFS                                                      PLTFS
 92      2/28/2019   Amended Notice of Hearing on 06/14/19 @10              3      Amended Notice of Hearing on 06/14/19 @10 AM
                     AM
 91      2/19/2019   Request for Production FILED by PLTF                   6      Request for Production FILED by PLTF
 90      2/19/2019   Answer and Affirmative Defense Filed by                8      Answer and Affirmative Defense Filed by Florida Design
                     Florida Design Consultants Inc                                Consultants Inc
 89      2/18/2019   Response to Motion PL Re Sanctions Against             4      Response to Motion PL Re Sanctions Against PLTFS
                     PLTFS
 88      2/18/2019   Response to Motion to Dismiss Filed by PLTFS           9      Response to Motion to Dismiss Filed by PLTFS

 87      2/13/2019   Return of Service on Summons Served on                 4      Return of Service on Summons Served on Florida
                     Florida Design Consultants Inc. 013019                        Design Consultants Inc. 013019
 86      2/13/2019   Notice of Hearing on 06/14/19 @10 AM                  3       Notice of Hearing on 06/14/19 @10 AM
 85       2/7/2019   Motion for Sanctions Filed by DEFS                    16      Motion for Sanctions Filed by DEFS
 84      2/7/2019    Motion to Dismiss 2nd Amended Complaint               14      Motion to Dismiss 2nd Amended Complaint Filed by
                     Filed by Summit View LLC.                                     Summit View LLC.
 83      1/25/2019   Summons Issued And Returned to Attorney                3      Summons Issued And Returned to Attorney

 82      1/22/2019   Motion to Dismiss (Amended) and Motion to             12      Motion to Dismiss (Amended) and Motion to Strike
                     Strike Filed by City of Dade City and Michael                 Filed by City of Dade City and Michael Sehrman.
                     Sehrman.
 81     01/72/2019   Response to Motion Filed By Janet Denlinger            8      Response to Motion Filed By Janet Denlinger and Harry
                     and Harry Denlinger                                           Denlinger
 80     1/16/2019    Response in Opposition; PLTF                          13      Response in Opposition; PLTF
 79     01/16!2019   Response to Motion Filed by PLTFS                     10      Response to Motion Filed by PLTFS
 78     1/14/2019    Motion for Extension of Time Filed by PLTFS            5      Motion for Extension of Time Filed by PLTFS

 77      1/8/2019    Copy of Unissued Summons                              3       Copy of Unissued Summons
 76      1/8/2019    Motion to Strike DF                                   2       Motion to Strike DF
 75      1/8/2019    Motion to Dismiss DF                                  5       Motion to Dismiss DF
 74      1/7/2019    Motion to Dismiss Complaint                           11      Motion to Dismiss Complaint
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 73      1/4/2019    Notice of Appearance J SOUTHRON ROBERTO              2      Notice of Appearance J SOUTHRON ROBERTO VALDEZ
                     VALDEZ
 72      1/4/2019    Notice of Appearance JOSEPH SOUTHRON ESQ             2      Notice of Appearance JOSEPH SOUTHRON ESQ DEFTS
                     DEFTS DENLINGER                                             DENLINGER
 71      1/4/2019    Motion to Dismiss DF                                86      Motion to Dismiss DF
 70     12/18/2018   Notice of Filing Attached Exhibits to Second        11      Notice of Filing Attached Exhibits to Second Amended
                     Amended Complaint; Filed by PLTF                            Complaint; Filed by PLTF

 69     12/17/2018   Second Amended Complaint                            34      Second Amended Complaint
 68      1/26/2018   Order Granting Defendants Motions to Dismiss        2       Order Granting Defendants Motions to Dismiss
                     Plaintiffs Amended Complaint                                Plaintiffs Amended Complaint
 67     11/26/2018   Order on Motion for Leave to Withdraw as             3      Order on Motion for Leave to Withdraw as Counsel
                     Counsel
 66     11/16/2018   Copy of Proposed Oder to Dismiss PLTFS               2      Copy of Proposed Oder
                     Amended Complaint
 65     11/14/2018   Joint Stipulation on Motion for Leave to             3      Joint Stipulation on Motion for Leave to Withdraw as
                     Withdraw as Counsel                                         Counsel
 64      11/74/208   Motion for Leave to Withdraw PL                      4      Motion for Leave to Withdraw PL
 63      11/6/2018   Notice of Dropping Party or Parties JES              2      Notice of Dropping Party or Parties JES PROPERTIES
                     PROPERTIES
 62      11/6/2018   JES PROPERTIES Inc. Dismissed 11/6/2018            N/A      NO DOCUMENT ON FILE
 61      11/6/2018   Notice of Dropping Party or Parties DOUGLAS         2       Notice of Dropping Party or Parties DOUGLAS WEILAND
                     WEILAND
 60      11/6/2018   Notice of Dropping Party or Parties CWES III         2      Notice of Dropping Party or Parties CWES III LLC
                     LLC
 59      11/6/2018   Notice of Dropping Party or Parties ELIZABETH        2      Notice of Dropping Party or Parties ELIZABETH SIRNA
                     SIRNA
 58     10/25/2018   Notice of Filing DF- Motion for Definite             5      Notice of Filing DF- Motion for Definite Statement
                     Statement
 57     10/15/2018   Notice of Appearance and Designation of Email        3      Notice of Appearance and Designation of Email Address
                     Address: OBO Southwest Florida Water
                     Management District and Brian Armstrong

 56      9/15/2018   Notice of Appearance OBO PLTFS - Counsel             2      Notice of Appearance OBO PLTFS - Counsel Hightower
                     Hightower
 55      9/15/2018   Notice of Appearance OBO PLTFS - Counsel             2      Notice of Appearance OBO PLTFS - Counsel Deese
                     Deese
 54      9/13/2018   Motion for Sanctions Filed by City of Dade City      9      Motion for Sanctions Filed by City of Dade City and
                     and MICHAEL SHERMAN Re Claim for Writ of                    MICHAEL SHERMAN Re Claim for Writ of Mandamus
                     Mandamus
 53      9/13/2018   Motion for Sanctions Filed by City of Dade City      9      Motion for Sanctions Filed by City of Dade City and
                     and MICHAEL SHERMAN Re PLTFS Claim for                      MICHAEL SHERMAN Re PLTFS Claim for Negligence
                     Negligence
 52      9/13/2018   Motion for Sanctions Filed by City of Dade City      7      Motion for Sanctions Filed by City of Dade City and
                     and MICHAEL SHERMAN Re Inverse                              MICHAEL SHERMAN Re Inverse Condemnation
                     Condemnation
 51      9/13/2018   Motion for Sanctions Filed by City of Dade City      7      Motion for Sanctions Filed by City of Dade City and
                     and MICHAEL SHERMAN Re Clamim for Attny                     MICHAEL SHERMAN Re Clam for Attny Fees
                     Fees
 50      9/10/2018   Amended Notice Of Hearing 11/06/18 @ 1 PM            2      Amended Notice Of Hearing 11/06/18 @ 1 PM

 49      9/10/2018   Motion to Dismiss Count VII Filed by Def The         5      Motion to Dismiss Count VII Filed by Def The City Of
                     City Of Dade City                                           Dade City
 48      8/30/2018   Notice of Hearing 11/06/18 @ 1 PM                    3      Notice of Hearing 11/06/18 @ 1 PM
 47      8/27/2018   Notice of Non-Availability Filed by Counsel For      3      Notice of Non-Availability Filed by Counsel For PLTF
                     PLTF
 46      8/24/2018   Motion for Default on (Court) Against City of        2      Motion for Default on (Court) Against City of Dade City
                     Dade City
 45      8/9/2018    Notice of Filing PLTF                                5      Notice of Filing PLTF
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 44      7/13/2018   Motion to Dismiss Amenbded Compliant Filed           5      Motion to Dismiss Amenbded Compliant Filed by DEFT
                     by DEFT KEENS SERVICES                                      KEENS SERVICES
 43      7/13/2018   Motion to Strike Claim for Attorney Fees Filed       2      Motion to Strike Claim for Attorney Fees Filed by Keens
                     by Keens Services                                           Services
 42      7/12/2018   Notice of Cancellation of Hearing 07/17/18 @1        3      Notice of Cancellation of Hearing 07/17/18 @1 PM
                     PM
 41      7/12/2018   Notice of Filing Attached Abatement                  8      Notice of Filing Attached Abatement Agreement
                     Agreement
 40      7/11/2018   Summons Issued and Returned to Attorney,             2      Summons Issued and Returned to Attorney, ELIZABETH
                     ELIZABETH C SIRNA                                           C SIRNA
 39      7/9/2018    Notice of Hearing 07/17/18@1 PM                      3      Notice of Hearing 07/17/18@1 PM
 38      6/29/2018   Order Granting Def's Motion to Reschedule July       2      Order Granting Def's Motion to Reschedule July 9, 2018
                     9, 2018 Hearing                                             Hearing
 37      6/29/2018   Notice of Non Availability SCARRITT LAW              2      Notice of Non Availability SCARRITT LAW GROUP PA
                     GROUP PA
 36      6/28/2018   Notice of Hearing 06/29/18 @11AM                     3      Notice of Hearing 06/29/18 @11AM
 35      6/20/2018   Memorandum of Opposition to PLTFS                   17      Memorandum of Opposition to PLTFS Emergency
                     Emergency Motion for Temporary Injunction;                  Motion for Temporary Injunction; Filed by Summit
                     Filed by Summit View LLC, Douglas J Weiland,                View LLC
                     Jes Properties Inc. and CWES III LLC.

 34      6/14/2018   Response Filed by Southwest Water                    6      Response Filed by Southwest Water Management
                     Management
 33      6/8/2018    Motion to Dismiss Filed by City of Dade City and     9      Motion to Dismiss Filed by City of Dade City and
                     Michael Shermans Motion to Dismiss Amended                  Michael Shermans Motion to Dismiss Amended

 32      6/7/2018    Summons Issued and Returned to Attorney,             2      Summons Issued and Returned to Attorney, KEENS
                     KEENS SERVICES INC                                          SERVICES INC
 31      6/7/2018    Motion to Dismiss Plaintiffs Amended                80      Motion to Dismiss Plaintiffs Amended Complaint or in
                     Complaint or in the Alternative Motion for                  the Alternative Motion for More Definite Statement
                     More Definite Statement Filed by Defs                       Filed by Defs Southwest
                     Southwest Florida Water Management Districts
                     And Brian Armstrong
 30      6/6/2018    Motion to Reschedule July 9, 2018 Hearing Filed      4      Motion to Reschedule July 9, 2018 Hearing Filed By Def
                     By Def Summit View LLC, Douglas J Weiland and               Summit View LLC, Douglas J Weiland and Jes Properties
                     Jes Properties Inc. and CWES III LLC.                       Inc. and CWES III LLC.

 29      6/6/2018    Memorandum of Opposition to Valdez                   5      Memorandum of Opposition to Valdez Amended
                     Amended Motion to Intervene and Consolidate                 Motion to Intervene and Consolidate Filed by Def
                     Filed by Def Summit View LLC Douglas J                      Summit View
                     Weiland Jes Properties Inc. And CWES III Inc.

 28      6/6/2018    Motion to Dismiss Amended Complaint, Filed          12      Motion to Dismiss Amended Complaint, Filed by Defs
                     by Defs
 27      6/5/2018    Notice of Hearing 07/09/18 @1 PM                     3      Notice of Hearing 07/09/18 @1 PM
 26      6/5/2018    Emergency Motion for Temporary Injunction -          1      Emergency Motion for Temporary Injunction -Set for
                     Set for Hearing 07/09/18 at 1:00 PM – Attorney              Hearing 07/09/18 at 1:00 PM
                     to Do NTC of HRG-Babb

 25      6/5/2018    Emergency Motion for Temporary Injunction;          213     Emergency Motion for Temporary Injunction; Janet
                     Janet Denlinger and Harry Denlinger                         Denlinger and Harry Denlinger

 24      6/1/2018    Affidavit of Service Served MICHAEL                  3      Affidavit of Service Served MICHAEL ZIMMERMAN
                     ZIMMERMAN 05/22/18 –Sub- Wade Vose Esq.                     05/22/18 –Sub- Wade Vose Esq.

 23      6/1/2018    Waiver and Acceptance of Service Southwest FL        3      Waiver and Acceptance of Service Southwest FL
                     Management                                                  Management
 22      6/1/2018    Waiver and Acceptance of Service BRIAN               3      Waiver and Acceptance of Service BRIAN ARMSTRONG
                     ARMSTRONG
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 21      6/1/2018    Waiver And Acceptance of Service Filed by           4      Waiver And Acceptance of Service Filed by Douglas J
                     Douglas J Weiland, Summit View, Jes Properties             Weiland, Summit View, Jes Properties Inc, CWES III,
                     Inc, CWES III, LLC.                                        LLC.
 20      5/30/2018   Motion to Intervene (AMENDED) Filed by             34      Motion to Intervene (AMENDED) Filed by ROBERTO
                     ROBERTO VALDEZ                                             VALDEZ
 19      5/30/2018   Notice of Appearance NANCY STUPARICH Esq.           3      Notice of Appearance NANCY STUPARICH Esq. OBO City
                     OBO City of Dade City                                      of Dade City
 18      5/30/2018   Other Mediators Report- No Agreement                3      Other Mediators Report- No Agreement
 17      5/29/2018   Amended Complaint PLTF                             24      Amended Complaint PLTF
 16      5/29/2018   Motion to Intervene and Consolidate as             30      Motion to Intervene and Consolidate as Additional
                     Additional Plaintiff; Roberto Valdez                       Plaintiff; Roberto Valdez
 15      5/25/2018   Notice of Appearance OBO DEFT Southwest             3      Notice of Appearance OBO DEFT Southwest Florida
                     Florida
 14      5/24/2018   Notice of Appearance Obo Summit View LLC.           2      Notice of Appearance Obo Summit View LLC. Douglas J
                     Douglas J Weiland, Jes Properties Inc. and                 Weiland, Jes Properties Inc. and CWES III LLC.
                     CWES III LLC.
 13      5/23/2018   Notice of Objection to Mediation: Filed by DEFS     2      Notice of Objection to Mediation: Filed by DEFS City of
                     City of Dade City and Michael Sherman                      Dade City and Michael Sherman

 12      5/23/2018   Notice of Appearance and Designation of Email       2      Notice of Appearance and Designation of Email Filed by
                     Filed by Thomas P Scarritt Jr Esq. OBO City of             Thomas P Scarritt Jr Esq
                     Dade City and Michael Sherman

 11      5/16/2018   Summons Issued And Returned to Attorney,            2      Summons Issued And Returned to Attorney, BRIAN
                     BRIAN ARMSTRONG                                            ARMSTRONG
 10      5/16/2018   Summons Issued And Returned to Attorney:.           2      Summons Issued And Returned to Attorney:.
                     Southwest Water Management District                        Southwest Water Management District

  9      5/16/2018   Suininens Issued And Returned to Attorney;          2      Suininens Issued And Returned to Attorney; MICHAEL
                     MICHAEL SHERMAN                                            SHERMAN
  8      5/16/2018   Summons Issued And Returned to Attorney;            2      Summons Issued And Returned to Attorney; City of
                     City of Dade City                                          Dade City
  7      5/17/2018   Notice of Mediation Conference 05/24/18             2      Notice of Mediation Conference 05/24/18 @10AM
                     @10AM
  6      5/15/2018   Notice of Voluntary Dismissal of DEFT Pasco         1      Notice of Voluntary Dismissal of DEFT Pasco County
                     County Filed by PLTFS                                      Filed by PLTFS
  5      5/15/2018   County of Pasco The Dismissed 5/15/2018           N/A      NO DOCUMENT ON FILE PER PASCO COUNTY CLERK
  4      4/27/2018   Complaint                                         26       Complaint
  3      4/27/2018   Civil Cover Sheet                                 32       Civil Cover Sheet
  2      4/27/2018   Civil Cover Sheet                                  2       Civil Cover Sheet
  1      4/27/2018   Case 512018CA001241CAAXES Filed with Clerk        N/A      NO DOCUMENT ON FILE PER PASCO COUNTY CLERK
                     on 4/27/2018
